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                                                              February 1, 2023

BY ECF
The Honorable Hector Gonzalez
United States District Judge
Eastern District of New York
United States Courthouse
225 Cadman Plaza East
Brooklyn, New York 11201

                Re:     United States v. Erick Estrada 22 Cr. 234 (HG)


 Dear Judge Gonzalez:

         I represent Erick Estrada in the instant Indictment. I write today to respectfully request
the Court adjourn the plea hearing currently scheduled for February 2, 2023 11:00am. I make
this request due to a temporary medical condition that will prevent me from appearing in court.

          The government has graciously consented to the instant request for an adjournment and
all parties are able to appear next Thursday, February 9, 2023 at a time most convenient for the
court.

        The defense consents to the waiver of time under the Speedy Trial Act.

                                                     Sincerely,
                                                     /s/
                                                     Christopher Wright

        cc:    Andres Palacio (via ECF)
               Assistant United States Attorney
